             Case 2:20-cr-01564-AM Document 14 Filed 10/21/20 Page 1 of 4
REDACTED                                                                                FILED
                                                                                   October 21, 2020
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                                                                               TB
                                                                              BY: ________________________________
                                                                                                      DEPUTY
                                     DEL RIO DIVISION

   UNITED STATES OF AMERICA                        §      Cause No.
                                                   §
                                                   §      INDICTMENT
   v.                                              §
                                                   §      [VIO: COUNT ONE: 21 U.S.C. §
                                                   §      841(a)(1) & (b)(1)(A) and 846,
   DEVIN NICHOLAS GOMEZ                            §      Conspiracy to Possess With Intent to
                                                   §      Distribute Methamphetamine; COUNT
                                                   §      TWO: 21 U.S.C. § 841(a)(1) &
                                                   §      (b)(1)(A), Possession of
                                                   §      Methamphetamine With Intent to
                                                   §      Distribute; COUNT THREE: 18 U.S.C.
                                                   §      924(c)(1)(A): Use or Carry of a firearm
                                                   §      during and in relation a drug trafficking
                                                   §      crime.]

   THE GRAND JURY CHARGES:                                DR-20-CR-01564-AM
                                            COUNT ONE
                             [21 U.S.C. § 841(a)(1) & (b)(1)(A) and 846]

          Between or about July 23, 2020, through September 23, 2020, in the Western District of

   Texas, Defendant,

                                    DEVIN NICHOLAS GOMEZ,

   knowingly, intentionally, and unlawfully combined, conspired, confederated and agreed with

   others known and unknown, to possess with the intent to distribute a controlled substance, which

   offense involved a quantity of 500 grams or more of a mixture or substance containing a

   detectable amount of Methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

   Controlled Substance, contrary to Title 21, United States Code, Sections 841(a)(1)

   & (b)(1)(A) and 846.
          Case 2:20-cr-01564-AM Document 14 Filed 10/21/20 Page 2 of 4




                                           COUNT TWO
                                 [21 U.S.C. § 841(a)(1) & (b)(1)(A)]

        Between or about July 23, 2020, through September 23, 2020, in the Western District of

Texas, Defendant,

                                   DEVIN NICHOLAS GOMEZ,

did knowingly, intentionally, and unlawfully possess with the intent to distribute a controlled

substance, which offense involved a quantity of 500 grams or more of a mixture or substance

containing a detectable amount of Methamphetamine, its salts, isomers, and salts of its isomers, a

Schedule II Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1)

& (b)(1)(A).

                                          COUNT THREE
                                      [18 U.S.C. 924(c)(1)(A)]

        On or about September 23, 2020, in the Western District of Texas, Defendant,

                                   DEVIN NICHOLAS GOMEZ,

knowingly used or carried a firearm, that is, a 9mm Taurus handgun, during and in relation to a

drug trafficking crime for which he may be prosecuted in a court of the United States, that is,

Title   21,    United   States    Code,    Section   841(a)(1)   &     (b)(1)(A)   Possession   of

Methamphetamine with Intent to Distribute, all in violation of Title 18, United States

Code, Section 924(c)(1)(A).

                                                     A TRUE BILL.
                                             Original Signature Redacted Pursuant to E-
                                                       Government Act of 2002

                                                      FOREPERSON
          Case 2:20-cr-01564-AM Document 14 Filed 10/21/20 Page 3 of 4




GREGG N. SOFER
United States Attorney


By: ____________________________
   SYDNI L. CONNELL
   Assistant United States Attorney
          Case 2:20-cr-01564-AM Document 14 Filed 10/21/20 Page 4 of 4

                                                      DR-20-CR-01564-AM
SEALED:
UNSEALED: XX

                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

COUNTY: BEXAR                                USAO #: 2020R07938
DATE: OCTOBER 21, 2020                       MAG. CT. #: DR20-01662M
AUSA: SYDNI L. CONNELL
DEFENDANT: DEVIN NICHOLAS GOMEZ
CITIZENSHIP: UNITED STATES
INTERPRETER NEEDED: YES                      LANGUAGE: SPANISH
DEFENSE ATTORNEY: EDGAR HUGO JUAREZ
ADDRESS OF ATTORNEY: PO BOX 4241 EAGLE PASS, TX 78853
DEFENDANT IS: DETAINED                       DATE OF ARREST: SEPTEMBER 24, 2020
BENCH WARRANT NEEDED: NO
PROBATION OFFICER: N/A
NAME AND ADDRESS OF SURETY: N/A
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: INDICTMENT
OFFENSE: (Code & Description): Count 1 - 21 U.S.C. § 841(a)(1) & (b)(1)(A) and 846,
Conspiracy to possess with intent to distribute Methamphetamine; Count 2 - 21 U.S.C.
§ 841(a)(1) & (b)(1)(A), Possession with intent to distribute Methamphetamine; Count 3 - 18
U.S.C. 924(c)(1)(A): Use or Carry of a firearm during and in relation to a drug trafficking crime.
OFFENSE IS A: FELONY
MAXIMUM SENTENCE: Counts 1 & 2: 10 years to life imprisonment; up to $10,000,000 fine;
5 years supervised release; $100 mandatory special assessment for each count of conviction.
Count 3: 5 year minimum imprisonment; up to $250,000 fine; 3 years supervised release; $100
mandatory special assessment.
PENALTY IS MANDATORY: YES & NO
REMARKS: See above
W/DT-CR-3
